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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION FILED VIA MAIL
JACKSONVILLE, FLORIDA
NOV 03 2017
In re: :
Chapter 7 CLERK, U.S. BANKRUPTCY COURT

LILLY JOSEPHINE REAL. : MIDDLE DISTRICT OF FLORIDA

Case No.:16-03913(JAF)
Debtor.

MOTION TO DISMISS OF FRANK E. POLO FOR LACK OF PERSONAL
JURISDICTION, IMPROPER VENUE, AND MOTION TO QUASH FOR DEFECTIVE
SERVICE OF PROCESS ON “MOTION FOR SANCTIONS AGAINST CREDITOR
FRANK POLO,” AND FOR VIOLATION OF DUE PROCESS.

Frank E. Polo (“I,” the “Creditor” or “Mr. Polo”), hereby moves this Court for an order
quashing Lilly J. Real’s (hereinafter the “Debtor™) “Motion for Sanctions Against Creditor Frank
Polo” for defective service of process and abating this cause for lack of personal jurisdiction,
improper venue and would show:

§ 1.FACTS:
1. Mr. Poio was never served with a summon and complaint in the case No. Case No. 3:16-

bk-03913(JAF).

2. The motion for sanctions was served on Creditor’s mother, in a house where the Creditor
has not lived for years now (since 2013), does not keep any property, and does not conduct any

business.

3. Creditor was declared indigent by the Eleventh Circuit Court for Miami Dade’s Clerk of
Court in accordance with §57.082 Fla. Stat. See attached declaration of indigent status. (EXHIBIT

D)

4. Ms. Real is a Lawyer with License to practice in the state of Florida with License Number

77682 since April 4, 1996 according to the public record contained in the Florida Bar website.
 

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5. Contrary to Ms. Real accretion in her motion for sanctions, Ms. Real (“Debtor,”’) had reason
to believe that Creditor (Mr. Polo} was likely to initiate a civil and/or Criminal procedure against
her as early as June 16, 2015, or before. On June 16, 2015, Debtor received a letter from the
Creditor telling her that he had not intent to report her to the Florida Bar, nor intentions to proceed
against her criminally or in civil court, and affidavit of Debtor filed in State court shows she knew
about this email. See EXHIBIT A (P-2:10). Moreover, Mr. Polo had already filed a Motion to

vacate Final Judgment for Fraud on the Court. See EXHIBIT B.

6. When Mr. Polo found out that Ms. Real Attorney had filed and amendment of her schedule
after the meeting of creditors had passed, Mr. Polo stopped any kind of proceeding against Ms.
Real and filed a “Notice of Temporary Intent not to Prosecute”(EXHIBIT C,) in which Mr. Polo
clearly and unambiguously expressed that he would stop all prosecution against Ms. Real until he
had received further relieve from Automatic Stay, not knowing that the Automatic Stay was no
longer in place, because the meeting of creditors had already passed and Mr. Polo was never served

with notice of the proceeding.

7. The Creditor in this case, was under the bona fide impression that he had a legal right to
bring the cause of action against Ms. Real in state court, despite the amendment of Exhibits after
the meeting of creditors. Creditor believes that because of faulty (nonexistent) service of process,
the Federal Bankruptcy court did not have jurisdiction over Creditor to adjudicate a Judgment
without first obtaining jurisdiction over the Creditor. Consequently, the Creditor asked the State
court, where substantial part of the events occurred, to issue a Declaratory Judgment ruling on
whether or not creditor had the right to continue litigation if the Federal Court never had

jurisdiction over the creditor to grant any relieve for Ms. Real.

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8. Due to the fact that (1) the State Court has concurrent jurisdiction with U.S. Bankruptcy
Court flowing from the fatlure of Defendant Lilly J. Real to schedule the debt that arises under
§523(a)(6) for willful and malicious injury by the debtor to another entity; (2) that substantial part
of events occurred in the county of Miami Dade; and (3) that all parties involved in the events were
residents of Miami Dade when the events happened, the Creditor filed a “Motion for Declaratory

Judgment” in Miami Dade County before proceeding with further litigation.
9. Ms. Real discharge in bankruptcy court was granted under 11 U.S.C. §727

§ 2.PERSONAL JURISDICTION - THE LAW
A. PERSONAL JURISDICTION UNDER FED. R. BANKR. P. 7004 AND FED. R.

CIV. P. 4, DEMANDS FOR PROPER PROCESS OF SERVICE FOR
FEDERAL COURTS TO STABLISH PERSONAL JURISDICTION.

10. Under Fed. R. Bankr. P. 7004, the requirements for service of process are quite basic. Fed.

R. Bankr. P. 7004(b)(1).

Service by First Class Mail. Except as provided in subdivision (h), in addition to
the metheds of service authorized by Rule 4(e)-(j) F.R.Civ.P., service may be made
within the United States by first class mail postage prepaid as follows:

Upon an individual other than an infant or incompetent, by mailing a copy of the

summons and complaint to the individual's dwelling house or usual place of abode
or to the place where the individual regularly conducts a business or profession.

11. Moreover, the court in DuVoisin v. Arringion (In re 8. Indus. Banking Corp.), 205 B.R.
525, 531-32 (E.D. Tenn. 1996) held that “service was made by mail addressed to a temporary
residence, not to the defendant/appellant's dwelling house or usual place of abode. [Consequently,]
[e]ven if the Spring City trailer park was for a time the defendant/appellant's dwelling house or
usual place of abode, the uncontroverted evidence in the record is that Mr. Pressley moved away
from the trailer park before the commencement of the adversary proceeding; the Spring City

location was neither a temporary residence nor a dwelling house or usual place of abode of Mr.

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Pressley when this service by mail was attempted.” See First Nat'l Bank & Trust Co. of Tulsa v.
Ingerton, 207 F.2d 793, 795 (10th Cir. 1953) (finding that service upon a defendant at a house she
rented for her daughter was ineffective because the evidence indicated her residence was at a hotel
where she received her mail and where her personal belongings and furniture were located);
Ultrasonics, Inc. v. Eisberg (In _re Ultrasonics, Inc.},269 B.R. 856, 861 (Bankr. D. Id.
2001 (finding that an address where service was attempted was not the defendant's dwelling house
or usual place of abode because no evidence indicated that the defendant lived at the address on
either a sporadic or regular basis); Tropin v. Weitzman (In re Premium Sales Corp.), 182 B.R. 349,
354 (Bankr. 8.D. Fla. 1995) (upholding service upon the defendant where there was a reasonable
nexus between him and the condominium where the service was effected because the defendant
regularly stayed in the condominium for one to four week periods sporadically throughout each

year.)

PERSONAL JURISDICTION - ANALYSIS

12. In this case, Ms. Real failed to provide proper notice of the procedure when she never
served Mr. Polo with proper notice, including with it the summon and complaint. Thereafter, she
filed an amendment to the schedules and never provided Mr. Polo with the amended schedules. To
prevent notice, Ms. Real filed a Notice of suggestion of Bankruptcy with the Miami Dade 11th
Circuit Court, but never serve the amended schedules. Consequently, the failure to provide notice
prevents the Federal Court to exercise personal jurisdiction over Mr. Polo in violation of due

process of law, and earlier judgment shall not be binding.

13. In regards to the Motion for Sanctions, Ms. Real’s attorney sent the motion for sanctions
via certified mail to 1475 SW 8th St Apt 411, Miami, Fl. 33135 (“My Mother’s House.”) The last
time I was temporarily living in this address was in May 2012 until February 2013, and I have

reside in 9619 Fontainebleau Blvd. Apt 317, Miami Fl. 33172 (“My House.”) since February 2013
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to the best of my recollection. Furthermore, I have resided in this address with my current wife
and my children, whom I married in January 2013. Additionally, I do not keep any belongings in
My Mother’s House, I do not have a room in that house and even less I conduct any business
activity from my mother’s house. Ms. Real, was the Guardian Ad Litem in a family court in which
she visits my house and she knows precisely where I live. Ms. Real was in charge of evaluating
the conditions of my house and she was even inside my house and my children’s room.
Consequently, she knows my place of abode is in a different address. I do use the address of my
mother for receiving mailing which I am already receiving via electronic delivery, and just because
the mailbox is more secured in that location and because | receive all motions on those cases
electronically as soon as those are filed. I pick up my mail once a month or every two months,
unless my brother comes to my house to deliver this to me, which does not occur to often. I am
currently a full time Law Student and I do not have any profession or Business which I am
practicing. Therefore, the house of my mother is not a regular place of business. The companies |
used to own are both closed for Administrative Dissolution and have been inactive since
approximately the end of 2012 to beginning of 2013. Moreover, those two corporation have a
principal address of 9619 Fontainebleau Blvd. Apt 317, Miami EL. 33172, which is the address
last used for filling annual reports for the company. For all reasons mentioned above my place of
abode is not 1475 SW 8th St Apt 411, Miami FL. 33136, the address Ms. Real’s attorney listed in
his certificate of service as my regular place of business. Consequently, the personal service of

process is defective.

14. Consequently, the Court did not have personal Jurisdiction over me when it issued
the release of debts for Ms. Real. Additionally, Ms. Real attorney failed to exercise proper process

of service when he did not serve me with the Summon and Complaint. Neither did he stablish

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personal jurisdiction when he did not deliver the motion at 9619 Fontainebleau Blvd. Apt 317,

Miami FL. 33172 where I have resided for over four years now.

§ 3. JURISDICTIONAL PROTECTION OF § 523(c)- THE LAW
B. DEBTOR THAT FAILS TO LIST A CREDITOR WHO HOLDS A DEBT OF A

KIND SPECIFIED IN SECTION 523(A)(3)(B) LOSES THE
JURISDICTIONAL PROTECTIONS OF SECTION 523(C).

15. The state court has concurrent jurisdiction with U.S. Bankruptcy Court flowing from the
failure of Defendant Lilly J. Real to schedule the debt that arised under §523(a)(6) for willful and
malicious injury by the debtor to another entity. See In re Massa, 217 B.R. 412, 420 (Bankr.
W.D.N.Y. 1998) (holding that “[a] debtor who fails to list a creditor who holds a debt of a kind
specified in Section 523(a)(3)(B) loses the jurisdictional protections of Section 523(c))}; See also
In re Massa, 217 B.R. 412, 419 (Bankr. W.D.N.Y. 1998) (stating that “not only can a determination
of nondischargeability flowing from Section 523(a)(3)(B) be made by the bankruptcy court, it can
also be made by an appropriate state court which has concurrent jurisdiction to make such a
Section 523(a)(3)(B) determination.”); Keenom v All Am. Mktg. (In re Keenom) (1999, BC MD
Ga) 231 BR 116 (holding that “[s]tate court can decide whether debt is discharged under 11 USCS
§ 523(a)(3)(B) as statutory scheme provides that state court can decide whether creditor has
colorable or viable claim that debt is of kind specified in 11 USCS § 523({a)(2), (4), or (6) without

intruding on exclusive jurisdiction of bankruptcy courts.”

JURISDICTIONAL PROTECTION ANALYSIS

16. In this case Ms. Real directly participated in tortuous acts against Mr. Polo. The causes of
actions that Mr. Polo brought against Ms. Real include but are not limited to, (1)Intentional
Interference with Custody of Minor Children; and (2) intentional infliction of severe emotional
distress. Therefore, the claim arose under §523(a}(6) for willful and malicious injury by the debtor

to Mr. Polo. Hence, this is the kind of injury that §523(a)\(6). §523(a)\(3)(B) clearly stays that when

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a debtor fails to notice a creditor of those listed under §523(a)(2), (4) or (6) the debt is not
discharged, and that is precisely what Ms. Real did in this case. She intentionally did not include
Mr. Polo because Mr. Polo had sent her an email telling her he would not proceed further in civil
or criminal court, and she was afraid that Mr. Polo could had changed his mind and proceed to file
a clatm if he was listed as a creditor. It was clear for Ms. Real that Mr. Polo was a “Reasonable
Ascertainable Plaintiff.” and knew that her co-conspirators were stil] causing damages to Mr. Polo.
Therefore, it was in her best interest to stay away from Mr. Polo and not to list him as a Reasonable
Ascertainable Plaintiff. Nevertheless, the question for the court to answer is whether Mr. Polo was
a Reasonable Ascertainable Plaintiff: Clear, Mr. Polo was since the moment he acknowledge he
had the right to take Ms. Real to civil and criminal court, and he was not doing so due to his
religious conventions. Nevertheless, upon continuance of harassment by Ms. Reals co-conspirators
it was ascertainable to Ms. Real that Mr. Polo was a Reasonable Ascertainable Plaintiff: Moreover,
only taxes and death are for sure in this life. It was unreasonable for Ms. Real to think that she

intentionally created harm on Mr. Polo and that Mr. Polo was never going to change his mind.

17. On May 26, 2015, before Ms. Real had filed for bankruptcy, Mr. Polo filed a Motion to
Vacate the Family judgement, in the family case, based on Fraud on the Court performed by Ms.
Real. Ms. Real was made aware that Mr. Poio had evidence to demonstrate that she had committed
fraud on the court. See EXHIBIT B. Moreover, Ms. Real, as a knowledgeable lawyer, with 20
years of experience, a license to practice law, and formal legal education, knew or should have
known that it was reasonable that Mr. Polo had multiple causes of action against her, which he
could have pursued at any time. No only when Mr. Polo filed a motion to vacate accusing Ms.
Real of committing fraud on the court, but also when she consciously, willingly and with
premeditation interfered with the custody of two minor children despite knowing that her actions

were not supported by then existing law and neither by a reasonable standard. Thereafter, on
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August 2015, the Plaintiff in this case began Law School, and all other co-conspirators in this case
knew this. Therefore, she knew the chances of getting a cause of action against her were increased
once the Plaintiff had started law school. Therefore, she had another good reason to believe that

the Plaintiff in this case was a Reasonable Ascertainabie Creditor.

18. After the Creditor in this case filed a motion to vacate on filed on May 26, 2015, accusing
Ms. Real of committing fraud on the court to interfere with the custody of the Plaintiff, there was
no much reasonably diligent efforts that Ms. Real had to apply to known that the Plaintiff in this
case was a Reasonable Ascertainable Creditor since the same instant in which she decided to
collude with the other defendants to bring about harm to the Plaintiff in this case, and take steps in
furtherance of the conspiracy they had. See Patti v. Colanduoni (In re Patti), 449 B.R. 224, 226
(Bankr. M.D. Pa. 2011) (holding that “[a]s reasonably ascertainable creditors, they could also be
categorized as ‘known creditors’ entitled to notice of the bankruptcy.” Patti v. Colanduoni (In re

Patti), 449 B.R. 224, 226 (Bankr. M.D. Pa. 2011).

19. As much as it is reasonable ascertainable that battering, killing, or acting illegally against
property or person creates a Reasonable Ascertainable Creditor, it was reasonable for Ms. Real to
know that she had created a Reasonable Ascertainable Creditor by intentionally acting against the
best interest of the Creditor and his children. Consequently, Ms. Real was aware since the moment
that she intentionally acted against the Mr. Polo and his children, that Mr. Polo and his children
were all Reasonable Ascertainable Creditor. Ms. Real failed to name the Plaintiff in this case a
creditor and this does not discharge the debt under 11 U.S.C. §727 in accordance to 11 U.S.C.

§523(a)(B). Therefore, Creditor shall be able to continue his case in the state court.

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§ 4. DECLARATORY JUDGMENT - THE LAW

20. Statutory law in Florida specifically provided jurisdiction to the courts to declare rights,

status, and other equitable or legal relations between parties, whether or not further relief is or

could be claimed. § 86.011, Fla. Stat. (2014). A court can make either a negative or affirmative

declaration. Jd. The courts may make declaratory judgments on the existence or nonexistence of

any immunity, power, privilege, or right, or any fact upon which the same may depend, whether it

exists now or will arise in the future. § 86.011(1}-(2), Fla. Stat. (2014)

a.

The goals of the Declaratory Judgment Act include: (i) relieving litigants of
the common-law rule that a declaration of rights cannot be adjudicated unless the
right has already been violated; (ii) rendering practical help in ending controversies
which have not reached a stage where other legal relief is immediately available;
(iii) settling uncertainties with respect to rights, status, or other equitable and legal
relationships; (iv) avoiding multiple suits; and (v) providing clarity where technical
or social changes have placed in doubt one’s rights, immunities, status, or
privileges. Kendrick vy. Everheart, 390 So. 2d 53, 59 (Fla. 1980); Roth v. The

Charter Club, Inc., 952 So. 2d 1206, 1207 (Fla. 3d DCA 2007) (holding complaint

 

for declaratory judgment on proper interpretation of statute was
sustainable); Jackson _v. Fed. Ins. Co., 643 So. 2d 56, 58 (Fla. 4th DCA 1994}
(finding justiciable controversy on entitlement to disability benefits after training).
To properly state a sustainable cause of action for declaratory relief, a complainant
must allege that (1) there is a bona fide dispute between the parties; (2) the
complainant has a justiciable question as to the existence or non-existence of some
right, status, immunity, power, or privilege, or some fact upon which their existence

may depend; (3) the complainant is in doubt as to the right, status, immunity, power,
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er privilege; and (4) there is a bona fide, actual, and present need for the

declaration. May v. Holley, 59 So. 2d 636 (Fla. 1952); Romo v. Amedex Ins. Co.

 

930 So. 2d 643, 648 (Fla. 3d DCA 2006). The complainant must also show that the
antagonistic and adverse interests are all before the court, and that the relief sought
is not merely the giving of legal advice by the courts or the answers to questions
propounded from sheer curiosity. City of Sarasota v. Mikos, 613 So. 2d 566, 567
(Fla. 2d DCA 1993).

c. In determining sufficiency the test is ’on/y” whether there is a bona fide dispute
and the plaintiff is entitled to a declaration of rights. Rigby, 505 So. 2d. at
600; Verdecia v. Am. Risk Assur. Co., 494 So. 2d 294, 294 (Fla. 3d DCA 1986)
(reversing dismissal of complaint for declaratory relief); Tavares v. Allstate Ins.
Co., 342 So, 2d $51, 553 (Fla. 3d DCA 1977) (holding that a dispute over contract

coverage sustained an action for declaratory relief).

DECLARATORY JUDGMENT - ANALYSIS
21. In this case Mr. Polo only objected to the dischargeability of the debt of Ms. Real by

requesting the state court to issue a declaratory judgment about the right that Mr. Polo had under
the law to continue with the suit and whether the failure of Ms. Real Attorney to serve Mr. Polo
with service of process had made any previously decision made by this Court void as a matter of
law. As explained in previous section three (3), both courts have jurisdiction to determine the
dischargeability of a case in which Ms. Real failed to list a Reasonable ascertainable debtor in time
for that debtor to have his side hear and proper opportunity to bring an adversarial proceeding
against Ms, Real. See the law under $3. Consequently, bringing a cause of action to get a

pronouncement about my rights to continue litigation is not an act of continuing litigation against

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Ms. Real, but an act to get a declaration about the rights of Mr. Polo and those of Ms. Real, which

is in accordance with existing statutory and case law.

§ 5.REQUEST FOR SPECIAL APPEARANCE

22. Mr. Polo respectfully request this court to allow Mr. Polo to come for an special appearance
without losing his right to process of service, with the limited objective of discussing this objection

to the Debtor’s Request for Sanctions,” by challenging the jurisdiction of the court.

§ 6. PRAYER FOR RELIEF
WHEREFORE, for the reasons set forth herein, Mr. Polo respectfully requests that this
Court enter an order granting the relief requested herein and such other and further relief as the
Court deems just and proper including but not limit:
1. Relief from discharge of debt, which was enter without the court having personal
jurisdiction;
2. Dismiss the motion for sanctions for improper (defective) process of service and for
inconvenient forum/improper venue, where no all the involved parties reside; and
3. Due to the fact that the “Motion for Sanctions” was made to harass, to needlessly
increase the cost of litigation to Creditor in the State case, to cause improper delay in
aforementioned case in state court, and the claims, defenses, other legal contentions
contained in the “Motion for Sanctions” are not warranted by existing law; therefore,
those are frivolous argument. The creditor, Mr. Polo, is being forced to hire a local
attorney license to practice in Middle District of Florid. Mr. Polo will have to travel to
the hearing and would have to spend reasonable traveling and accommodation to attend
the hearing. Additionally, Mr. Polo would have to hire a professional Court Reporter to

protect his rights to an appeal. Hence, Mr. Polo requests this Court to grant attorney’s

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fees, traveling expenses, and reasonable Court Reporter fees enforceable against
Debtor’s attorney in accordance with Fed. R. Civ. P. 11(c) for violation of Fed. R. Civ.

P. 11(b).

Respectfully Submitted,

FRANK E. POLO SR.

4204

9619 Fontainebleau Blvd. Apt 317
Miami, FL. 33172
Phone: 305-901-3360

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished to the following
attorney at the following address: EDWARD P. JACKSON, 255 N. Liberty Street, First Floor,
Jacksonville, FL 32202, by First Class U.S. Mail this 31st day of October 2017.

a

9619 Fontainebleau Blvd. Apt 317
Miami, FL. 33172
Phone: 305-901-3360

 

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ilin p ay C iled 11/03/17 Page 13 of 23
Filing # 622675¢88-Pilex Koad F017'02: 38 4b pM EXHIBID A

IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN ANO FOR MIAMI-DADE COUNTY, FLORIDA
CASE NO. 2017-3553-CA-01
JUDICIAL DIVISION: 34
JUDGE: RODNEY SMITH
FRANK E. POLO,
Plaintiff,

Vv.

LILLI[sic] J. REAL’, GUSTAVO J. LOSA,
STEPHANIE GRANDA, THE LAW OFFICE OF
GRANDA & ASSOCIATE[sic]; MERLIN
HERNANDEZ; RANDOLPH MARTINEZ,
MILDRED HERNANDEZ ITURRALDE;

EMILIA ITURRALDE; REGINO PEREZ;

and RAUL GUERRERO,

Defendants.

{

DEFENDANT, LILLY J. REAL'S AFFIDAVIT IN OPPOSITION TO
PLAINTIFF'S MOTION FOR DECLARATORY JUDGMENT

STATE OF FLORIDA
COUNTY OF DUVAL

SWORN TO AND SUBSCRIBED UNDER OATH, THE AFFIANT HEREBY STATES AS
FOLLOWS:

1. Affiant states that Affiant is over eighteen (18) years of age and Sui Juris.

2. Affiant states that her legal name is Lilly Josephine Real and was formerly known as
Liliana Maria Real(*Affiant") and Affiant states that Affiant has personal knowledge of
the facts set forth herein.

3, Affiant is a member in good standing with The Florida Bar since April 26,1996 with a
brief voluntary retirement from December 1, 2015 to April 19, 2016 for heaith reasons.

4. Affiant is a Florida Supreme Court Certified Family Mediator since 2009 to the present.

5. Affiant is currently employed at the Duval County Unified Courthouse as a full-time staff
family mediator and has employed there since August 1, 2016.

6. At the end of June 2016, Affiant moved herself, her elderly mother and two dogs to
Jacksonville, Florida prior to commencing employment, but after receiving the job offer
as a mediator in the Duval County Unified Courthouse.

7. Affiant, through Bankruptcy counsel, Edward Jackson, Esq., filed for personal Chapter 7
bankruptcy in October 2016 in the Middle District of Florida (Jacksonville Division) under
Case No. 16-03913-JAF (“Affiant’s Chapter 7 Bankruptcy”) due to a Final Judgment in a
case against her by Mortgage Guaranty insurance Company (“MGIC*) in Miami-Dade
County, Florida under Case No. 2014-23053 CA 01 among many other debts including
dischargeable and non-dischargeable debts.

8. On or about February 15, 2017 (after the trustee had previously found no assets to be
distributed) the Bankruptcy Judge granted the Affiant’s discharge on the dischargeabie

 

' Affiant Lily J. Real's name was misspelled by Piaintiff a5 “Lill” Real. Affiant was formerly known as Lilllana Maria
Real but Affiant legally changed her name to Lilly Josephine Real in March 2016 which is public record under the
case style, In Re: Name Change of Lilliana Maria Real, Case number 2018-4815 (FC 04).
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debts in the Affiant’s Chapter 7 Bankruptcy; Affiant currently still owes $429,660.53 in
defaulted student loans; the IRS discharged tax years 2010, 2011 and 20172 for a tax lien
release of $78,988.88, but the IRS did not discharge the tax years 20713, 2014 and 2015
and the Affiant has a recent IRS lien filed against Affiant’s name in St. John’s County”
where she currently resides in the amount of $91,944.84.

9. Affiant’s bankruptcy was caused by a litigation matter that was filed in 2014 in Houston,
Texas in Federal Court against Affiant's former clients and included Affiant and although
Affiant was eventually dismissed from the litigation, the lawsuit caused a downward
spiral in Affiant’s finances due to Affiant having to pay large sums of attorneys’ fees to
Affiant's Houston, Texas attomey.

10. Affiant did not include Plaintiff, Frank Polo Sr (“Plaintiff”) in Affiant’s Chapter 7
Bankruptcy because Affiant was not aware that Plaintiff would be filing a lawsuit against
Affiant especially given that Plaintiff had specifically stated he would not sue Affiant in a
email attached hereto and mentioned in paragraph 11 below.

11. Affiant received an email from the Plaintiff, June 16, 2015 in reply to Affiant filing a
Response regarding the same allegations set forth in the matter and Plaintiff, in said
email stated that he would not sue affiant civilly. See attached Exhibit A, the email
received by Affiant from Plaintiff on June 16, 2015 stating as follows,

“Ms. Real, Once again you are overreacting. | do not have any intention to report
you to The Florida Bar, neither to proceed against you criminally nor in civil court.
Just get it right, | am not the kind of person whe would like to do harm to anyone. My
religion conventions do not allow me to do wrong, just for doing wrong. Neither do | like
people to do wrang to me. Nevertheless, if you want to bring a court reporter to the
hearing on Jun(sic) 23° and keep pushing this further, you can do so. | will based[sic]
the case of the fact[sic] of the matter and | will object to any other irrelevant statements
you may want to enter. | will not distract the court[sic] attention to any other matter than
the fact that the pictures had dates and some even faces. Respectfully, Frank Polo Sr.”

12, Affiant had no communication with Plaintiff in 2016 prior to filing for bankruptcy or prior to
the 341 meeting of creditors.

13. On January 4, 2017 (after the bankruptcy had been filed and the meeting of creditors
had taken place), Plaintiff reached out via email to Affiant to confirm Affiant’s e-mail
address and during that email exchange, Plaintiff stated that if he would need her to
testify at a hearing in Miami, he would send a subpoena to her attorney, but did not state
at any time he was suing Affiant. See Exhibit B attached hereto.

14. Later in January 2017, the Plaintiff sent an email to Affiant attaching a complaint directed
to The Florida Bar against Affiant which was over a 100 pages long.

15. Subsequently, Affiant contacted The Florida Bar and was informed that the Plaintiff's
complaint had been retumed to him because it exceeded the page limit.

46. On February 22, 2017, Affiant received a letter from a law firm in South Florida offering
their services in defense of a lawsuit filed against Affiant in South Florida.

17, Upon receipt of the solicitation letter, Affiant searched the public records in Miami-Dade
County, Florida and discovered that Plaintiff had filed suit against Affiant among others.

18. Shortly thereafter, Affiant contacted the Jacksonville Sherriff's Office to ask about picking
up the Comptaint and Summons to vafuntary be served at the station.

49. In early March 2017, the Affiant picked up the Complaint and Summons filed against her
by the Plaintiff at the Jacksonville Sherriff’s Office.

20. During the remainder of March 2017, the Affiant had responses filed through counsel in
this matter.

 

? St. John’s County is a county immediately adjacent to Duval County.
 

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21. At the end of March 2017, the Plaintiff was involved in settlement negotiations with all
Affiant and other Defendants which were not successful.

22. Settiement negotiations at the end of March, 2017, failed to result in a settlement of the
matter,

23. On April 3, 2017, Affiant, through bankruptcy counsel, added Plaintiff as a creditor in the
Affiant’s Chapter 7 bankruptcy case and filed a Suggestion of Bankruptcy in this matter.

24. Plaintiff's appeal of the family case which Is the subject matter of this litigation was
affirmed “per curiam” by Third District Court of Appeal in a filed Opinion on March 22,
2017 and Plaintiff's request for a rehearing and for a written opinion were both denied.
See the Opinion which was printed by Affiant from the Third District Court of Appeat
website along with the docket under Case 3D16-720, Lower Tribunal No. 12-17787
(“Plaintiffs Appeal) attached as Composite Exhibit C.

25. Affiant was the Guardian Ad Litem in the underlying family iaw case which Plaintiff
appealed in Case 3D16-720.

26, The Third District Court of Appeal cited the following case in the March 22, 2017 Per
Curiam affirmed opinion filed in Plaintiffs Appeal, Acplegate v. Barnett Bank of
Tallahassee, 377 So.2d 1150, (Fla 1979).

27. Affiant has reviewed the case cited by the Third District Court of Appeal which states in
pertinent part, “[e]ven when based on erroneous reasoning, a conclusion or decision of
a trial court will generally be affirmed if the evidence or an alternate theory supports it.”
See Applegate, 377 So. 2d at 1162.

FURTHER AFFIANT SAYETH NAUGHT.

Yee R

Y SOSEPHINE-REAL
fik/a LILLIANA MARIA REAL

 

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v EXHIBIT-B
SN CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT

 

 

> os IN AND FOR MIAMI DADE COUNTY, FLORIDA
we whe (Family Division)
8% te
we" ©" MERLIN HERNANDEZ
Petitioner, ae
VS. Case No. 2012-01787-FC-04 bale
FRANK E, POLO .
Respondent Pro-Se

 

RESPONDENT'S MOTION TO VACATE FINAL JUDGMENT

Comes now the respondent, Frank Polo, and hereby files their motion to vacate final
judgment, pursuant to Rule 1.540(b) Fla. R. Clv. P., states:

1. Florida Rule of Civil Procedure 1.540(b) provides in pertinent part: On motion and upon
such terms as are just, the court may relieve a party or a party's legal representative from a final
judgment, decree, order, or proceeding for the following reasons:... (1) mistake, inadvertence,
surprise, or excusable neglect; (2) newly discovered evidence which by due diligence could not
have been discovered in time to move for a new trial or rehearing (3) fraud (whether her rev
denominated intrinsic or extrinsic), misrepresentation, or other misconduct of an aiyerse arty Bey
(4) that the judgment or decree is void; This rule does not limit the power of a coud e onteBpin
an independent action to relieve a party from a judgment, decree, order, or procesigiizor tet ¢ 3,

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aside a judgment or decree for fraud upon the court. Bren

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2. During the trial on February 26th, 2014 the father testified that he respectici gfiagrctt 2
with the testimony of the guardian ad litem, whom had stated that the father serit qirftires BF @
the children with no face and no dates with the intention of building a case against te fpothek

The father testified under oath that the pictures had date and even some had faces. Théfather

added that this statement of the guardian ad litem was false and misleading due to the fact that

his true concern was the wellbeing of his children and that in an effort to protect this, he trusted
the guardian ad litem with his concerns.

3. The testimony of the guardian ad litem was a confirmation of the report she had filed the
day before the trial against FL Rule 61.403 (5) which establishes that “The report must be filed
and served on all parties at least 20 days prior to the hearing at which it will be presented...” This
undoubtedly created surprise at time of hearing, due to the false testimony of the guardian for
which the respondent was not ready to obtain the needed evidence to disprove the testimony of
the guardian; nevertheless, the father offered his testimony as a clear objection to the report
filed by the guardian ad litem. The guardian blamed the late submission of report to a letter the
Father sent to the guardian clearly frustrated by what the father had already perceived as a bias
attitude of the guardian against the father. Such a letter was found by this court not to represent
any expression of intention to harm the children, the mother or himself after having a hearing
promoted by the guardian ad litem to get the father’s timesharing suspended.
 

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4, In the report filed by the GAL, Mrs. Real stated she was worry about the email in which
the father “...mentioned being killed inside and never seeing Children again after tomorrow in
caps..” to justify her unreasonable suspension of a second visit to the father’s house and the late
delivery of the report on February 25 2014. The letter never had none of these words in “caps”;
consequently, this is just one more misrepresentation of the material facts presented to this
court by the guardian ad litem In her report.

5. The father issue a subpoena to Microsoft Online Services after realizing that the emails
with the attachments sent to the guardian ad litem, which is the evidence needed to disprove
the false statements made by the guardian ad litem, were residing in a server wholly owned and
operated by Microsoft Corporation. Despite the lengthy time that Microsoft took to provide such
evidence, the evidence is now available to present to this court. This evidence will show the court
that in fact the pictures sent by the respondent to the guardian ad litem, not only had dates, but
also some of them had faces of the children.

6. The father sent email, after the trial and before the final judgment was issued (On May
8‘? 2014), expressing to the guardian ad litem how disappointed he was at her report and
provided the guardian with copies of those emails with picture which the guardian said they
didn’t have dates nor faces of the children. Nevertheless, the guardian failed to adopt any
reasonable remedial measures, including, if necessary, disclosure to the tribunal.

7. As previously stated by the court, at the hearing held on October 20th, 2014, the court
did not find any evidence that the father was building a case against the mother; nevertheless,
the court based its ruling on the testimony (allegations) set forth by the guardian ad litem.
Consequently, the respondent feels that the fact that the evidence in his possession shows proof
that the pictures sent the guardian ad litem have pictures and some of them even have faces, is
clear evidence of the misrepresentation of the actual facts by the guardian ad litem, which leads
the father to request this motion to vacate judgment.

8. It is the position of the respondent that if the court were to allow the petitioner to have
the majority of time-sharing with the children based on the conflicting and misrepresented
testimony of the guardian ad litem, the court would open the door to incredible harm to other
children which their parents, in an attempt to protect themselves from the guardian ad litem,
would not report their concerns to the guardian ad litem in other litigations; thereby affecting
the protection of the best interest of the children.

9. Ifthe court were to allow the petitioner in this case to have majority of time-sharing with
the children in light of serious misrepresentation and fraud upon the court, it would result in a
major injustice to the Respondent. The Court cannot be in a position of enabling the guardian ad
litem to commit material misrepresentation or felony crimes.

WHEREFORE, Respondent/Father, FRANK £. POLO, respectfully requests this court to
grant Respondent's motion for vacating judgment and that this Court award him the following
relief:

1. issue a new final judgment which will reflect:

 
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A} New timesharing determination granting the respondent 50/50 timesharing with the
children as requested by the father during mediation and in accordance with Fla. Sta. 61.13,
disregarding the testimony and final report filed by the guardian ad litem, whom has been found
to have concealed material facts. Doing this would be consistent with providing justice and
ensuring equity between the parties.

B) Grant the father the right to provide Daycare for the children in the event he is unable
to pay for costly daycare services, which was denied previously based also on the testimony of
the guardian ad litem.

C) Issue order granting the father the right of first refusal which was agreed by both
parents to comply with during co-parenting classes, but the mother refuses to comply with;
therefore, it will have to be enforce by judicial order as many other previous issues resolved by
this court due to the refusal of the mother to do what is in the best Interest of the children.

CERTIFICATE OF SERVICE
J HEREBY CERTIFY that a true and correct copy of the foregoing motion was sent via e-
matl to Stephanie Granda, Esq, counsel for the Petitioner/Mother, at sg@grandalaw.com., on this

Tuesday, May 26", 2015,
To: Stephany Granda See
Attomey for Petitioner Frank Polo Sr.

E-Mail: se@sgrandalaw.com 1475 SW 8" St Apt 411
Miami, FL. 33135
Telephone: 786-608-9657

 
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IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI DADE COUNTY, FLORIDA

FRANK E. POLO CASE NO. 2017-003553-CA-01
JUDICIAL DIVISION: 34
JUDGE: RODNEY SMITH
Plaintiff,

VS.

LILLY J. REAL; GUSTAVO J.
LOSA; STEPHANIE GRANDA;
THE LAW OFFICE OF
GRANDA & ASSOCIATE;
MERLIN HERNANDEZ;
RANDOLPH MARTINEZ:
MILDRED HERNANDEZ
ITURRALDE; EMILIA
ITURRALDE; REGINO
PEREZ; and RAUL GUERRERO.
Defendants.

NOTICE OF TEMPORARY INTENT NOT TO PROSECUTE

Plainuff, FRANK E. POLO, files this Notice of Jntent not to Prosecute and states as
follows:

1. Plaintiff understand that this case is in inactive statute against Ms. Lilly J. Real
(“Ms. Real.”) Therefore, the filling of the Second Amended Complaint and the objection to Ms.
Stephany’s Granda motion to dismiss is not done with the intent of further prosecute Ms. Real, but
with the intent of fixing the mistakes in the complaint and objecting to the motion filed by other

defendant.

2. Moreover, it is the honest understanding of Plaintiff that the stay protection extends
to Ms. Real only. Consequently, discovery conducted by the Plaintiff will be limited to this
Page 1 of 2

Polo v. Real, et al.
CASE N@. 2817-083553-CA-@1
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information concerning other defendants until Plaintiff obtains a relief from automatic stay from

the Federal court.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing motion was sent via e-
filing to the following individuals, on this 5 day of July, 2017. The motion will be mail to those
that have not provided electronic means of communication.

To: Lourdes Maria Fermandez FL127418
Defendant’s Co-Counsel
Via: E-Filing

To: Gregory Fidel Betancourt FL143669
Defendant’s Co-Counsel
Via: E-Filing

Gustavo J. Losa, Esq.
Defendant
Via: E-Mail

Stephante Granda Fernandez, Esq.
Defendant
Via: E-Mail

Law Office of Granda & Associates, P.A.

Defendant
Via. E-Mail

Merlin Hernandez
Defendant
Via: E-Mail

Randolph Martinez
15229 SW 39th Terrace
Miami, Florida 33185

Polo vy. Real, et al.
CASE N@. 2017-089553-CA-@1

By: isf

Frank Polo Sr,

1475 SW 8" St Apt 411
Miami, FL. 33135
Telephone: 305-901-3360
Email: Frank Polo@omsn.com

 

Mildred Hernandez I[turralde
7040 SW 24th Street

Apt 301

Miami, Florida 33155

Emilia Iturralde

7040 SW 24th Street
Apt 301

Miami, Florida 33155

Regino Perez

7040 SW 24th Street
Apt 301

Miami, Florida 33155

Raul Guerrero

7040 SW 24th Street
Apt 103

Miami, Florida 33155

Page 2 of 2
 

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IN THE CIRCUITICOUNTY COURT OF THE JUDICIAL CIRCUIT
IW AND FOR ———————— COUNTY, FLORIDA
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Defendant?Responcdént a
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Parental Rights actions. Tone 1, ®

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annus deductions required by law and other court-ordered payments such as child support) ww

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CLERK'S DETERMINATION
Based on the information in this Application, 1 have determined the epplicant to be

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This form was completed with the assistanoe of:
APPLICANTS FOUND NOT TO BE INDIGENT MAY SEEK REVIEW BY A JUDGE BY ASKING FOR A HEARING TIME,

THERE IS NO FEE FOR THIS REVIEW.
Sign bere if you want the judge to review the clerk's decizion

 
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Bryan Simpson U.S. Courthouse
300 North Hogan Street
Jacksonville, Florida 3

Attn: Clerk of Courts

Tuesday, October 31, 2017
Dear Sir or Madam,

The attached motion to dismiss/objection is submitted for filing. I have attached a copy of my
State issued firearm permit, because I have lost my driver license and I have to get a
replacement. Please, let me know if this information is sufficient to file the motion.

Please, notice that EXHIBIT D is the declaration of indigent status by Miami Dade Clerk of
Courts. Please, inform me if you need a new application.

Respectfully Submitted,

a

FRANK E. POLO SR.

9619 Fontainebleau Blvd. Apt 317
Miami, FL. 33172

Phone: 305-901-3360

Email: Frank.Polo@msn.com
